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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------x
                                                           :
UNITED STATES OF AMERICA,                                  :       Case No. 19 CR 366
                                                           :
                  -against-                                :
                                                           :
STEPHEN M. CALK,                                           :
                                                           :
                           Defendant.                      :
-----------------------------------------------------------:


 MEMORANDUM IN SUPPORT OF THIRD PARTIES JAMES BRENNAN, THOMAS
  HORN, MATTHEW MACDONALD AND JAVIER UBARRI MOTION TO QUASH
                AND/OR MODIFY TRIAL SUBPOENAS




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                                PRELIMINARY STATEMENT

       Third-parties James Brennan, Thomas Horn, Matthew MacDonald and Javier Ubarri

(collectively, the “Illinois Witnesses”) seek to quash and/or modify the trial subpoenas on them in

this case. The Illinois Witnesses are each employees of The Federal Savings Bank in Chicago,

Illinois. In light of the worsening COVID-19 pandemic and its risk to them and their families’

health and safety, they ask to be excused from testimony at the scheduled February 17, 2021 trial

in this case, or else to be allowed to testify remotely by two-way video.

       Since October 16, 2020, when the Court continued the trial of this case to February because

of the COVID-19 pandemic, that pandemic has only gotten worse. According to data collected by

the New York Times, New York City’s new COVID-19 cases increased nearly ten-fold, from 656

new cases on October 16 to 6,339 new cases on January 7, 2021. This exponential increase in new

cases has been accompanied by similar increases in deaths and hospitalizations from the disease.

The figures in Illinois and nationally are similarly bleak, with experts forecasting additional surges

in disease, hospitalizations and deaths in the coming weeks following breaches of social distancing

during the holidays and New Year’s celebrations.

       These facts are of grave concern for the Illinois Witnesses. Messrs. Brennan and Horn have

personal health issues that place them at significant additional risk from COVID, even without the

risk inherent in interstate travel. Mr. MacDonald’s wife has Multiple Sclerosis (“MS”), not only

putting her at heightened personal risk, but also making her particularly dependent on Mr.

MacDonald to care for their home and four children during this period when contact with others

is severely limited because of COVID-19. Mr. Ubarri’s age places him at heightened risk, too.

Moreover, his responsibilities as President of The Federal Savings Bank renders his absence from

work particularly damaging to both him and the bank, the putative victim in the case.



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       Neither is this a case where the witnesses could lawfully just show up at the time and place

of trial as indicated on the face of the subpoenas. New York is requiring out-of-state travelers to

present a negative COVID test taken 3 days before arrival in New York and then quarantine in

New York until they obtain another negative test to be taken no sooner than the traveler’s fourth

day in New York State. The traveler is free of quarantine only after results are received from the

second test. This is consistent with this Court’s protocol for out-of-state witnesses, which would

effectively require the witnesses to be present in New York for a week before the start of trial. The

witnesses would then have to wait for their turn to testify and, even then, not return home until any

right to recall them expires. Once home, Illinois asks citizens to quarantine for 14 days after

returning from “red zones” like New York.

       In this context, the subpoenas ask too much. The multiple pre-trial medical tests and

quarantine obligations in New York that the subpoenas effectively impose on the Illinois Witnesses

are more than the subpoena power of Rule 17 authorizes. Combined with the obligations to remain

available for recall until finally released and additional quarantine upon return home, these

witnesses would be compelled by these subpoenas to give up a month or more of their lives, away

from family and business responsibilities, all under circumstances that inherently place at risk the

health and safety of the witnesses and their loved ones. Requiring such sacrifice and risk from

third-parties is, in the circumstances, unreasonable and oppressive.

       There is a simple solution to this problem: allow the witnesses to testify by two-way video.

The Illinois Witnesses have suggested this, but the government will not agree. In another matter,

the Chief Judge in this District recognized that the extraordinary circumstances of the pandemic

support this alternative and it remains an option should trial go forward on February 17. Otherwise,

the subpoenas are appropriately quashed.



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                                  FACTUAL BACKGROUND

       A.      The Illinois Witnesses’ Relationship to the Case

       This case alleges a single count of bank bribery in violation of 18 U.S.C. § 215. The

gravamen of the case is that Stephen Calk influenced the approval of certain loans made by The

Federal Savings Bank (“TFSB”) to Paul Manafort. The government posits that Mr. Calk did so in

exchange for Mr. Manafort assisting Mr. Calk to obtain a position on the 2016 Trump campaign

or, after the election, in the Trump administration. Mr. Calk was the Chairman of TFSB and owned

almost 70% of the shares of the bank’s holding company. In August 2016, Mr. Calk was appointed

to an unpaid position on the campaign’s council of economic advisors. He was never offered any

position with the Trump administration. TFSB is the putative victim in the case.

       Each of the Illinois Witnesses is employed by TFSB. Mr. Ubarri is TFSB’s President.

Along with Mr. Calk, he is also on the Credit Committee that reviewed and approved the Manafort

loans. Mr. Brennan is a TFSB Vice President. His responsibilities include participating in Credit

Committee meetings and he served as Secretary of that committee. Mr. Brennan oversees

underwriting of commercial loans and did so for the Manafort loans. Mr. Horn reports to Mr.

Brennan and was involved in the underwriting of the Manafort loans, subject to Mr. Brennan’s

oversight. Mr. Horn’s knowledge about the underlying facts is duplicative of Mr. Brennan’s. Mr.

MacDonald works for TFSB and does underwriting for residential loans. The Manafort loans were

generally treated by TFSB as commercial, but Mr. MacDonald was asked to review Manafort’s

tax returns for one of the Manafort loans. He spent less than one day doing so, gave a preliminary

analysis, and then played no further role in the process.

       In 2018, Mr. Manafort was tried in the Eastern District of Virginia for his own conduct

concerning these loans. He was convicted of making false statements to the bank during the

underwriting process. Mr. Brennan is the only one of the four Illinois Witnesses whose testimony
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was needed during that trial. The U.S. Attorney’s Office for the Southern District of New York

has subpoenaed all four witnesses, subpoenaing each to appear to testify on February 17, 2021 at

Mr. Calk’s trial. Unfortunately, in the context of the COVID-19 pandemic, compliance with these

subpoenas requires more than appearance on the date and at the time of trial.

          B.      The COVID-19 Pandemic and Resulting Travel and Quarantine
                  Requirements

          Since early 2020, the COVID-19 pandemic has ravaged the country and the world.

According to the U.S. Centers for Disease Control and Prevention (the “CDC”), more than 21

million Americans have been infected and nearly 360,000 have died in the past year from COVID-

19. See United States COVID-19 Cases and Deaths by State, CDC COVID Data Tracker,

https://covid.cdc.gov/covid-data-tracker/#cases_casesper100k (last visited Jan. 8, 2021). The

steepest increases in new cases, hospitalizations and deaths have occurred since September 2020

and nationally we are currently experiencing the highest rates of infection and death of the entire

pandemic. See Trends in COVID-19 Cases and Deaths in the United States, CDC COVID Data

Tracker, https://covid.cdc.gov/covid-data-tracker/#pop-factors_totalcases (last visited Jan. 7,

2021). The CDC forecasts that these rates will be maintained for the next four weeks. with nearly

5,000 new cases daily in New York City County alone, COVID-19 Forecasts: Cases, CDC (Dec.

28,      2020),   https://www.cdc.gov/coronavirus/2019-ncov/downloads/covid-data/Consolidated-

Cases-Forecasts-2020-12-28.pdf, and approximately 1,200 daily hospitalizations in New York

State,         COVID-19    Forecasts:     Hospitalizations,     CDC       (Dec.     28,     2020),

https://www.cdc.gov/coronavirus/2019-ncov/downloads/cases-updates/Consolidated-Forecasts-

Hosp-with-Reported-Data-Ensemble-UPDATED2020-12-28.pdf.

          Trial in this case was originally scheduled in December 2020, but in October 2020, the

Court agreed to continue trial based on COVID-19 concerns. On the date of that continuance,

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October 16, 2020, New York City experienced just 656 new cases with a 7-day average of 517.

New      York     City   Coronavirus   Map    and     Case   Count,     The    New    York   Times,

https://www.nytimes.com/interactive/2020/nyregion/new-york-city-coronavirus-

cases.html#cases (last visited Jan. 8, 2021). On January 7, 2021, that number had increased almost

ten-fold, to 6,339 cases new cases with a 7-day average of 5.209. Id.

         According to the New York State COVID-19 website, as of January 3, 2021, the State had

a statewide positivity rate of nearly 8%. Gov. Cuomo Updates New Yorkers on State’s Progress

During          COVID-19       Pandemic,      New       York      State       (Jan.    3,    2021),

https://www.governor.ny.gov/news/governor-cuomo-updates-new-yorkers-states-progress-

during-covid-19-pandemic-93. Generally, 5% positivity is considered the upper threshold to

consider reopening a jurisdiction. Dowdy & D’Souza, COVID-19 Testing: Understanding the

“Percent        Positive”,   John   Hopkins   (Aug.    10,   2020),   https://www.jhsph.edu/covid-

19/articles/covid-19-testing-understanding-the-percent-positive.html.

         On January 7, 2021, the country marked a grim record for COVID-19 deaths in one day.

U.S. Sets Covid-19 Death Record as Researchers Point to Asymptomatic Cases as a Major Source

of Infections, The Washington Post, https://www.washingtonpost.com/health/2021/01/07/covid-

death-record/. And rates of infection, hospitalization and death from COVID-19 are all expected

to increase following the December and New Year’s holiday season. Dr. Anthony Fauci, largely

responsible for the national COVID response, warned: “We very well might see a post-seasonal –

in the sense of Christmas, New Year’s – surge, and as I’ve described it, as a surge upon a surge.”

Millman, NY Hospitalizations Top 7,550 as Early Post-Holiday Data Raises Cuomo’s Concern,

NBC New York (Dec. 29, 2020), https://www.nbcnewyork.com/news/coronavirus/ny-

hospitalizations-hit-highest-total-since-may-10-fauci-warns-of-post-holiday-surge-upon-a-



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surge/2801557/. In addition, there has recently been a new mutation of the virus that may be up to

70% more contagious. New coronavirus variant: What do we know?, BBC News,

https://www.bbc.com/news/health-55388846.

          Travel is a known risk factor for COVID-19 and the CDC and various states all recommend

against it. The rules for individuals entering New York, like the Illinois Witnesses, are established

by Executive Order 205.2 and by guidance issued by the New York Department of Health. See

Interim      Guidance    Travel    Advisory,    NY    Dept.    of    Health    (Nov.    3,    2020),

https://coronavirus.health.ny.gov/system/files/documents/2020/11/interm_guidance_travel_advis

ory.pdf. At a minimum, the State requires that such travelers obtain a negative COVID-19 test

within 72 hours prior to arrival in New York AND then quarantine upon arrival in the State for a

minimum of three days before seeking and obtaining an additional COVID-19 test. Id. Test results

are not immediately available, so this requires at least a four-day quarantine period for travelers

from Illinois to New York.

          This Court’s protocols for out-of-state witnesses are consistent with New York State law.

The Court has adjourned in-person appearances until February 12, 2021 because of COVID. See

In re Suspension of In-Person Operations, 20 MISC 622 (Jan. 6, 2021). When in-person

proceedings are resumed, the Court’s protocol for domestic travelers requires a 14-day quarantine

unless the person tests negative for COVID-19 within three days (72 hours) of departure AND

takes another COVID-19 test and tests negative on day 5 after arrival. SDNY Protocol for Domestic

Travelers, Office of the District Court Executive (Nov. 12, 2020). This effectively requires a six-

day quarantine based on at least a one-day delay in obtaining test results.

          Illinois recommends a 14-day quarantine for persons returning from New York. Travel

Guidance, IL Dept. of Public Health, https://www.dph.illinois.gov/covid19/travel-safety-guidance



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(last visited Jan. 7, 2021). Indiana, where Mr. MacDonald lives, also recommends a 14-day

quarantine after visiting an area, like New York, that is experiences ongoing community spread of

the   disease.    COVID-19       FAQ,     IN     Dept.    of    Health     (March     24,    2020),

https://www.coronavirus.in.gov/files/IN-COVID-19_FAQforPublic%203.24.20.pdf. The City of

Chicago, where each of the Illinois Witnesses works, advises against New York travel and requires

a full 10-day quarantine upon return. Emergency Travel Order, City of Chicago (Dec. 29, 2020),

https://www.chicago.gov/city/en/sites/covid-19/home/emergency-travel-order.html.

       Some individuals are at particular risk of serious illness (requiring hospitalization or

intensive care) or even death from COVID-19. Persons 50-64 years-old, for example, have a four

times greater chance of hospitalization and a 30 times greater chance of death than adults aged 18-

29. COVID-19, People at Increased Risk: Older Adults, CDC (Dec. 13, 2020),

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/older-adults.html.           Heart

disease, obesity and diabetes have further been identified as risk factors for more serious illness,

hospitalization or death from COVID-19. COVID-19, People at Increased Risk: People with

Certain Medical Conditions, CDC (Dec. 29, 2020), https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-

conditions.html?CDC_AA_refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-

ncov%2Fneed-extra-precautions%2Fgroups-at-higher-risk.html. Asthma, hypertension, high

blood pressure, neurologic and immune diseases have also been identified as potentially putting

individuals at greater risk of disease and/or death. Id. All of these factors are implicated by the

subpoenas for the Illinois Witnesses and their families with whom they live.




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       C.      The Illinois Witnesses’ Circumstances

       There is inherent risk for any witness compelled to use public transportation, move through

crowded airports, travel by airplane and then stay at a hotel (including quarantine at a hotel). In

addition, each individual Illinois Witness has risks and risk factors unique to him.

                1.     James Brennan

       Mr. Brennan is 62 years old. Decl. of James Brennan ¶ 3, attached as Exhibit 1 here. He is

overweight and has been diagnosed with both asthma and high blood pressure. Id. He lives with

his wife, who is 61 years old. Id. ¶ 2. She has been diagnosed with diabetes and high-blood

pressure. Id. ¶ 3. In addition, she has a history of heart disease and has had by-pass surgery on her

heart. Id. The Brennans have taken strict precautions during the pandemic. Mr. Brennan typically

works in the TFSB Chicago office, but has physically been to the office fewer than a half dozen

times since March 2020. Id. ¶ 4. When he has gone to the office, he has tried to go on weekends,

when it is least likely that other people are there. Id. Mr. Brennan’s wife works from home. Id. ¶

5. When the Brennans’ adult children visit them, they socially distance and wear masks. Id. ¶ 6.

                2.     Thomas Horn

       Mr. Horn is 51 years old. Decl. of Thomas Horn ¶ 1, attached as Exhibit 2 here. He has

been diagnosed as obese and pre-diabetic. Id. ¶ 3. He suffers from high blood pressure. Id. Mr.

Horn has limited in-person interactions since the pandemic began in earnest in March 2020. Id. ¶

4. Together, Mr. Horn and Mr. Brennan comprise their department at TFSB. Some of their work

requires working with original signed documents, a task for which Mr. Horn has taken

responsibility. Id. ¶ 4. If both he and Mr. Brennan were unavailable, these and other bank functions

simply would not be done, including underwriting for certain types of loans. Id. ¶ 1.




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                3.    Matthew MacDonald

       Matthew MacDonald has worked as an underwriting manager at TFSB since February

2016. Decl. of Matthew MacDonald ¶ 1, attached as Exhibit 3 here. He lives in Munster, Indiana

but his office is at TFSB’s Chicago office. Id. ¶¶ 1-2. Mr. MacDonald lives with his wife and four

children, ages 8 through 16. Id. ¶ 2. Mr. MacDonald’s wife has Multiple Sclerosis (“MS”), which

puts her at additional risk for COVID. Id. ¶ 4. A symptom of her disease is that she is easily

fatigued and her body sometimes seizes up and she cannot move her limbs. Id. Consequently, she

requires Mr. MacDonald’s presence and assistance around the house and with the children,

including to do housework and cook. Id. ¶¶ 4-6. As a result, since the COVID-19 pandemic began,

Mr. MacDonald has been working primarily from home. Id. ¶ 3. After the spike in COVID cases

at the end of 2020, Mr. MacDonald shifted to working almost exclusively from home. Id. That

work has consistently been extremely busy and Mr. MacDonald is often required to work nights

and weekends to do his work and also support his wife and children around the house. Id. Mr.

MacDonald has not traveled by airplane since March 2020. Id. ¶ 6.

                4.    Javier Ubarri

       Javier Ubarri is 54 years old. Decl. of Javier Ubarri at ¶ 1, attached as Exhibit 4 here. He

is President of TFSB and is responsible for overseeing all of the day-to-day operations of the bank

concerning regulatory and audit and compliance issues, as well as construction lending and

consumer finance initiatives. Id. Though he has taken steps to limit the number of persons at the

bank and then to further limit proximity to the skeleton crew that is there in person, Mr. Ubarri’s

responsibilities have made it impossible for him to shift completely to remote work. Id. ¶ 3. Mr.

Ubarri’s presence at the bank is required through March 2021 to deal with annual audits by the

banking regulators and a third-party audit firm. Id. ¶ 5. He is also coordinating the onboarding of



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500 new employees who the bank has hired in the past four months to cope with surge of business

that has accompanied reduced interest rates. Id.

                                          ARGUMENT

       The subpoena power granted pursuant to Rule 17 of the Federal Rules of Criminal

Procedure does not extend to what is required of the Illinois witnesses here. It does not permit

requiring third-party witnesses to undergo multiple medical procedures and then travel to a secure

location across the country from their homes at least a week in advance of testimony to quarantine

consistent with state law and the Court’s own protocol. Neither is it reasonable to compel witnesses

to travel to New York in these circumstances, putting their health and safety at risk, as well as the

health and safety of their families. To the contrary, such a result would be oppressive. This is all

the more so when two-way video testimony presents a reasonable alternative that has been

approved by the Chief Judge. For these reasons, the subpoenas to the Illinois witnesses are properly

quashed or else modified to provide for two-way video testimony.

       A.      The Illinois Witness Subpoenas are Ultra Vires

       The subpoenas to the Illinois Witnesses are ultra vires to the extent lawful compliance with

them demands so much more than presence at the time and date of trial. This is not to impugn any

bad faith on the government. It is a direct consequence of the pandemic and the laws and protocols

in place to protect the public health.

       Rule 17 provides only for subpoenas to “command the witness to attend and testify at the

time and place the subpoena specifies.” Fed. R. Crim. P. 17(a). Though the current circumstances

are unique, in other cases when subpoenas have required more than appearance at trial or hearing,

the subpoenas have been quashed. The typical case is one in which a subpoena purports to require

witnesses to appear before trial for interviews or for pre-trial conferences. E.g., United States v.

Wadlington, 233 F.3d 1067, 1075 (8th Cir. 2000) (improper to use subpoenas to summon witnesses
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for informal questioning the day before grand jury proceedings at which testimony was to be

provided); United States v. LaFuente, 991 F.2d 1406, 1411 (8th Cir. 1993) (improper to use

subpoenas to require witnesses to be present for pre-trial conferences); United States v. Keen, 509

F.2d 1273, 1274-75 (6th Cir. 1975) (improper to use subpoenas to require presence of witnesses

for interviews “miles from the place of trial”). But the general rule applied in these cases applies

fully here: Rule 17 “does not authorize the government or the defense to subpoena a witness and

require him to report at some place other than where the trial is to be held.” United States v.

Standard Oil Co., 316 F.2d 884, 897 (7th Cir. 1963).

       The subpoenas served on the Illinois Witnesses require them to “report at some place other

than where trial is to be held.” The place is not specified, but in order to comply with New York

State law and the Court’s protocol, the witnesses are required to: (a) take a COVID test within 72

hours of their departure for New York; (b) report to New York for quarantine at least seven days

before trial in order to provide time to get results from (c) a second COVID test required on the

fifth day after arrival. The unique circumstances of the current subpoenas thus require more than

Rule 17 allows. The subpoenas are, in this respect, ultra vires and properly quashed.

       B.      The Subpoenas are Unreasonable and Oppressive in the Circumstances

       Compliance with the subpoenas to the Illinois Witnesses is further unreasonable and

oppressive in the context of the pandemic. As various courts have ruled when faced with this issue,

“[r]oughly the same standard applies to subpoenas compelling the attendance of witnesses, i.e.,

subpoeanas ad testificandum” pursuant to Rule 17(a), as applies to subpoenas duces tecum

pursuant to Rule 17(c): i.e., “the proponent of a subpoena … bears the burden of proving that it is

not ‘unreasonable or oppressive.’” United States v. Rosenschein, No. 16-4571 JCH, 2020 U.S.

Dist. LEXIS 130877, at *2 (D.N.M. July 24, 2020), citing United States v. Nixon, 418 U.S. 683,



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698-99 (1974) and Stern v. United States Dist. Court, 214 F.3d 4, 17 (1st Cir. 2000)

(“Although Rule 17(a), which governs such subpoenas, does not provide explicitly for quashal or

modification, courts routinely have entertained motions seeking such relief and decided them by

reference to comparable principles.”); see also Fed. R. Crim. P. 17(c)(2) (“On motion made

promptly, the court may quash or modify the subpoena if compliance would be unreasonable or

oppressive.”).

       The Illinois Witnesses do not ask the Court to rule here that the subpoenas directed to them

are unreasonable based on relevance or specificity, as is often the case when Rule 17 subpoenas

are challenged and evaluated under the standard the Supreme Court explained in the Nixon case,

supra. Instead, they object that the pandemic and their individual circumstances render compliance

with the subpoenas unreasonable and oppressive. It is well within this Court’s discretion to quash

the subpoenas on this basis. See In re Grand Jury Matters, 751 F.2d 13, 18 (1st Cir. 1984)

(affirming District Court’s broad supervisory power under Rule 17 and affirming decision to quash

“subpoena whose enforcement at the particular moment seemed to [the District Court] likely to

entail consequences more serious than even severe inconveniences occasioned by irrelevant or

overbroad requests for records”); see also United States v. R. Enters., Inc., 498 U.S. 292, 301

(1991) (recognizing that respondents may object to a subpoena not only based on relevance or

specificity but also because “compliance would be overly burdensome”).

       In this case, to comply with New York State law and this Court’s protocols, each witness

would have to:

                Submit to a COVID test within 72 hours of departing for New York;

                Travel to New York and arrive by February 10, traversing airport transportation,

                 security and busy airports in Chicago and New York City;


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               Quarantine somewhere in New York City;

               On the fifth day after arrival, find a testing center and submit to an additional

                COVID test before awaiting results over the following two days;

               Be available for up to three weeks in New York City while awaiting his turn to

                testify and until he is released and no longer subject to recall in the case;

               Traverse the transportation system again back to Illinois or Indiana;

               Quarantine for an additional two weeks at home to comply with home-state

                guidance and for their families’ and the public’s safety.

       All this would consume a complete month or more of each witness’s life for the sake of a

few hours on the witness stand. Neither is the burden limited to impositions on the witnesses’ time.

       Messrs. Brennan and Horn are both in multiple high-risk categories for COVID and both

face potentially deadly consequences should they contract the disease. Mr. Brennan’s wife, to

whom he would return, is further at high-risk based on her age and medical condition, including

her history of heart disease. Mr. MacDonald’s family would face particular burdens from his

absence. His wife’s MS puts both her and their children in a peculiarly dependent position on him,

at times rendering her physically unable to use her limbs and in need of his assistance. This

neurologic condition puts her at additional risk from COVID itself, too. Mr. Ubarri is also in a

high-risk category for COVID based on his age. Furthermore, his responsibilities as President of

TFSB could not be fulfilled if he were compelled to be absent for weeks while in quarantine and

awaiting testimony in New York – risking significant harm to the bank that is the putative victim

in the case. Mr. Ubarri’s responsibilities at the bank between now and March 2021 include

overseeing the bank’s response to annual regulatory audits and coordinating the on-boarding of

500 new employees.


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       Moreover, given the prevalence of the pandemic at this moment, including in New York,

there exists a real and present probability that any trial begun will be interrupted by a positive

COVID test by a trial participant, venire member or counsel, raising the risk of additional delays

or even a complete re-trial at some future time after COVID vaccines (already being distributed)

have been made more broadly available. No witness should be compelled by subpoena to put his

health and safety, and that of his family, at risk. The fact is that those risks have only increased

since October when the Court first continued the trial in this case based on concern about COVID.

Requiring compliance with these subpoenas at this juncture would be unreasonable and oppressive.

       C.      Two-Way Video Testimony Presents a Reasonable Alternative to Live
               Testimony

       In the alternative, the subpoenas could be modified to require testimony by two-way live

video link. Judge Preska recently adopted this solution in a similar case, United States v. Donziger,

No. 19-CR-561 (LAP), 2020 U.S. Dist. LEXIS 157797 (S.D.N.Y. Aug. 31, 2020). There, the

government moved to permit live two-way video testimony of a government witness who feared

travel because of the COVID-19 pandemic. Id. at *1-*3 (witness’s physician advised him not to

travel “given [the witness’s] age, which puts him at an ‘increased risk of significant morbidity or

even mortality should [he] contract COVID” and witness’s medical condition that “places him ‘at

significantly increased risk of being hospitalized or dying if [he] contract[s] COVID.’”). The

government’s motion in Donziger was further based on the New York State quarantine obligations.

Id. at *3. While the defense objected, invoking the Constitution’s Confrontation Clause, Judge

Preska granted the motion to allow the video testimony. Id. at *4.

       As the Court explained: “While the Sixth Amendment’s Confrontation Clause gives

defendants the right ‘to be confronted with the witnesses against [them],’ U.S. Const. amend. VI,

the Supreme Court made clear in Maryland v. Craig, 497 U.S. 836 (1990), that it does not


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‘guarantee[]’ defendants ‘the absolute right to a face-to-face meeting’ with accusatory witnesses.”

Id. at *4 (emphasis in original). The Court went on to order the two-way video link proposed in

lieu of live testimony. Id. at *7 n.4 (noting “the Court has used video technology in several other

criminal matters, and it has proven to be ‘highly-effective’ in allowing viewers to ‘observe the

speaker in real-time and visually assess his or her demeanor’”); see also, e.g., Ciccone v. One W.

64th St., Inc., 69 Misc. 3d 585, 592 (Sup. Ct., New York County 2020) (citing Donziger and similar

decisions, concluding that video trial was appropriate in civil matter, including based on “advances

in technology” and “the ‘near-instantaneous transmission of video testimony’” that “permits the

court ‘to see the live witness along with his hesitation, his doubts, his variations of language, his

confidence or precipitancy, and his calmness or consideration”) (citation omitted). Judge Preska

relied on the Second Circuit’s decision in United States v. Gigante, 166 F.3d 75, 80 (2d Cir. 1999),

in which the Court of Appeals concluded that a two-way video link “preserved all of these

characteristics of in-court testimony” and did not violate the Confrontation Clause.

       Judge Preska’s solution was followed in United States v. Davis, No. 19-101-LPS, 2020

U.S. Dist. LEXIS 196624, at *12-13 (D. Del. Oct. 23, 2020). There, the court rejected an objection

to video testimony, stating “[t]he Court is confident that the procedures it will use for testimony

via remote videoconferencing technology will adequately and appropriately preserve the essential

characteristics of the face-to-face confrontation of a witness that occurs during live testimony in a

courtroom.” Id.; see also Rosenschein, 2020 U.S. Dist. LEXIS 130877, at *6-*7 (where witness

objected “the subpoena should be quashed because he lives out-of-state and it is unsafe to travel

due to the COVID-19 pandemic,” court conducted hearing via Zoom and concluded the quashal

was moot because witness could “testify from the safety of his own home or office.”) This is

consistent with other circumstances in which a witnesses health or circumstances render travel for



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live testimony unsafe. See United States v. Karoly, No. 08-592, 2009 U.S. Dist. LEXIS 55762, at

*5-6 (E.D. Pa. June 29, 2009) (deposition testimony allowed of elderly witness based on concerns

for her health and the stress and risks of travel). Here, live two-way video testimony is available,

as in Donziger, and would address the Illinois Witness’s concerns.

                                          CONCLUSION

       The Illinois Witnesses appreciate the gravity of any criminal proceeding, including this

one. They do not here assert the government is not entitled to their testimony, though by no means

is it clear each of their testimony is truly necessary. They do contend the subpoena power of Rule

17 does not extend to requiring them to submit to medical procedures; quarantine for days or

weeks; and place themselves and their families at risk of sickness, hospitalization or even death.

This is particularly true when there are alternatives, whether to simply continue trial until vaccines

are more broadly available (only months away now) or to provide for two-way video testimony.

Absent such compromise, however, compliance with the subpoenas in this case, in the unique

circumstances at bar, is unreasonable and oppressive and the subpoenas are properly quashed.

                                               Respectfully submitted,

                                               James Brennan
                                               Thomas Horn
                                               Matthew MacDonald
                                               Javier Ubarri

                                               /s/ Robert M. Andalman
                                               One of their attorneys

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